AO 472 (Rev. 09/08) Detention Order Pending Trial


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District
                                                    __________ DistrictofofMissouri
                                                                            __________

                  United States of America                               )
                             v.                                          )
                                                                         )      Case No. 13-04051-01-CR-C-BCW
                    Richard Marieo Hunter                                )
                            Defendant                                    )

                                               DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), I conclude that these facts
require that the defendant be detained pending trial.
                                             Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has previously been convicted
         of     G a federal offense          G a state or local offense that would have been a federal offense if federal
              jurisdiction had existed - that is
               G a crime of violence as defined in 18 U.S.C. § 3156(a)(4)or an offense listed in 18 U.S.C. § 2332b(g)(5)
                 for which the prison term is 10 years or more.

               G an offense for which the maximum sentence is death or life imprisonment.
               G an offense for which a maximum prison term of ten years or more is prescribed in
                                                                                                                             .*
               G a felony committed after the defendant had been convicted of two or more prior federal offenses
                 described in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses:

               G any felony that is not a crime of violence but involves:
                   G a minor victim
                   G the possession or use of a firearm or destructive device or any other dangerous weapon
                   G a failure to register under 18 U.S.C. § 2250
G (2)         The offense described in finding (1) was committed while the defendant was on release pending trial for a
              federal, state release or local offense.

G (3)         A period of less than five years has elapsed since the             G date of conviction          G the defendant’s release
              from prison for the offense described in finding (1).
G (4)         Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition will reasonably assure the safety
              of another person or the community. I further find that the defendant has not rebutted this presumption.

                                                         Alternative Findings (A)
✔ (1)
G             There is probable cause to believe that the defendant has committed an offense
               ✔ for which a maximum prison term of ten years or more is prescribed in 21 USC 841(b)(1)(A)
               G                                                                                                                       .
               G under 18 U.S.C. § 924(c).

         *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act
         (21 U.S.C.Case
                     § 951 et2:13-cr-04051-BCW
                              seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21
                                                                 Document        37U.S.C.Filed
                                                                                          § 955a).
                                                                                                01/13/14 Page 1 of 2                       Page 1 of 2
AO 472 (Rev. 09/08) Detention Order Pending Trial


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District
                                                    __________ DistrictofofMissouri
                                                                            __________

✔ (2)
G           The defendant has not rebutted the presumption established by finding 1 that no condition will reasonably assure
            the defendant’s appearance and the safety of the community.

                                                         Alternative Findings (B)
G (1)        There is a serious risk that the defendant will not appear.
✔ (2)
G            There is a serious risk that the defendant will endanger the safety of another person or the community.




                                     Part II— Statement of the Reasons for Detention
         I find that the testimony and information submitted at the detention hearing establishes by                     ✔
                                                                                                                         G clear and
convincing evidence           G a preponderance of the evidence that

1. Defendant has 4 prior felony convictions, including one conviction in which he violently assaulted a law enforcement officer. 2.
Defendant has pending state felony assault charges in Boone County. 3. Defendant is facing a term of incarceration of not less than 10
years if convicted of the charge in count one. 4. Defendant has a history of resisting arrest. 5. Defendant has a substance abuse
history. 6. Defendant has a history of violent behavior as evidenced by an assault on a detective during an arrest in 1994 on suspicion
of narcotics trafficking. 7. Defendant has a history of probation and parole noncompliance.




                                               Part III—Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or a designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult privately with defense counsel. On
order of United States Court or on request of an attorney for the Government, the person in charge of the corrections facility
must deliver the defendant to the United States marshal for a court appearance.


Date:                01/13/2014                                                           /s/ Matt J. Whitworth
                                                                                              Judge’s Signature

                                                                        Matt J. Whitworth, United States Magistrate Judge
                                                                                               Name and Title




         *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act
         (21 U.S.C.Case
                     § 951 et2:13-cr-04051-BCW
                              seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21
                                                                 Document        37U.S.C.Filed
                                                                                          § 955a).
                                                                                                01/13/14 Page 2 of 2                       Page 2 of 2
